              Case 3:12-cr-02236-CAB                       Document 54                Filed 08/27/12            PageID.136               Page 1 of 2


     'IIIAD 245B (CASD) (Rev. 1/12)   Judgment in a Criminal case
                 Sheet I




                                                UNITED STATES DISTRICT COURT                                                 12 AUG 21 PH 3: 26
                                                    SOUTHERN DISTRICT OF CALIFORNIA                                        ,LdHC C ~'. ::.; " ; L i Gi.::'.!f.<t
                                                                                                                         :;CUn1EiW OISIi-:ICT OF CAUfDrlHIA
                      UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                          v.                                         (For Offenses Committed On or After Nov~b.l. 1987)
                                                                                                                         loe 1tI/IJ....",.
                    GILBERTO OLIVAS-ESPINOZA (2)                                     Case Number: 12CR2236-CAB
                                                                                     GEORGE W. HUNT
                                                                                     Defendant's Attorney
     REGISTRATION NO. 33937298

    o
    THE DEFENDANT:
     181 pleaded guilty to oount(s) TWO (2) OF THE TWO-COUNT INFORMATION
     o was       found guilty on oount(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty .
          Accordingly, the defendant is adjudged gUilty of such oount(s), which involve the following offense(s):
                                                                                                                                              Count
     Title & Section                           Nature of Offense                                                                             Number(s)
8 USC 1324(a)(1)(AXi)                   BRINGING IN ILLEGAL ALIENS AND AIDING AND ABETTING                                                          2
and (v)(II)




        The defendant is sentenced as provided in pages 2 through                2          of this judgment. The sentence is imposed pursuant
 o
 to the Sentencing Reform Act of 1984.
      The defendant has been found not guilty on count(s)

 O Count(s}_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is 0
                                                              ----------------------------------------------
                                                                               are 0 dismissed on the motion of the United States.
  181 Assessment: $100.00 - Waived.

  181 No fine.                                        o   Forfeiture pursuant to order filed
                                                                                                  ------------ , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days ofany change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                              HON.                  ANN BENCIVENGO
                                                                              UNITED STATES DISTRICT JUDGE


                                                                                                                                               12CR2236-CAB
       Case 3:12-cr-02236-CAB                      Document 54          Filed 08/27/12      PageID.137             Page 2 of 2


AO 245B (CASD) (Rev. 1112) 1udgment in a Criminal Case
           Sheet 2 -Imprisonment
                                                                                            Judgment - Page    2     of       2
 DEFENDANT: GILBERTO OLNAS~ESPINOZA (2)
 CASE NUMBER: llCR2236-CAB
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         SIX (6) MONTHS.



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:

    o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op.m.        on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before
       o as notified by the United States Marshal.
                      --------------------------------------------------------------------~


          o as notified by the Probation or Pretrial Services Office.
                                                             RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                to

 at _________________________ , with a certified copy ofthis judgment.


                                                                                          UNITED STATES MARSHAL


                                                                   By ________~~~~~~~~~~~--------
                                                                                       DEPlITY UNITED STATES MARSHAL




                                                                                                                     12CR223~CAB
